      Case 04-40476-DOT      Doc 26    Filed 05/25/06 Entered 05/25/06 09:36:51      Desc
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                   UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF VIRGINIA

                              RICHMOND DIVISION

In re: Jamal Abdel Slater                           Case Number: 04-40476
                                                    Chapter : 13




                REPORT OF DEPOSIT OF UNCLAIMED FUNDS
______________________________________________________________________________

       Pursuant to Federal Rule of Bankruptcy Procedure 3011 and 11 U.S.C. 347, the
trustee herein submits a check payable to "Clerk, United States Bankruptcy Court"
representing unclaimed funds to be deposited by the Clerk of Court into the Treasury of
the United States. Said funds are subject to withdrawal as provided by 28 U.S.C. 2042 and
shall not escheat under any state law. The unclaimed funds represent the dividend(s) due
and payable to:


      ________________________                           Amount of Dividend
      Jamal Abdel Slater                                   $ 911.12
      3818 Chamberlayne Ave. Apt #6
      Richmond, VA 23227




                                                    \S\ Robert E. Hyman
Dated: May 25, 2006                                 _______________________
                                                    (Signature of Trustee)


                                                    Robert E. Hyman
                                                    Standing Chapter 13 Trustee
                                                    P.O. Box 1780
                                                    Richmond, VA. 23218-1780
